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                                                                                 JS-6
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                        CASE NUMBER:
Daniel G. Casas,
                                                                         2:21-cv-00842-JLS-KES
                                       Plaintiff,
                          v.
                                                            ORDER DENYING REQUEST TO PROCEED
RC Johnson,                                                       WITHOUT PREPAYMENT
                                                                     OF FILING FEES
                                       Defendant(s).                AND CLOSING CASE

          On       3/10/2021      , the Court DENIED plaintiff's request to file the action without prepayment of
the full filing fee with leave to amend. Plaintiff was advised to resubmit the Request to Proceed Without
Prepayment of Filing Fees and Complaint with a certified copy of the Trust Account Statement and
Disbursement Authorization within 30 days, and failure to do so would result in closure of the case.
          Plaintiff has failed to submit a timely response. Accordingly, the Request to Proceed without
Prepayment of Filing Fees is DENIED and the case is closed.


IT IS ORDERED.


DATED: May 1, 2021
                                                             United States District
                                                                           Dist
                                                                             s rict Judge
                                                                                    Jud
                                                                                      dge
                                                                                        ge




Presented by:



/s/ - Karen E. Scott
United States Magistrate Judge




IFP-9 (04/15)         ORDER DENYING REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES AND CLOSING CASE
